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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

OYSTER OPTICS, LLC,

               Plaintiff,
                                                        Civil Action No. 2:20-cv-00211-JRG
               v.
                                                        JURY TRIAL DEMANDED
CISCO SYSTEMS, INC.,

               Defendants.


           ORDER GRANTING JOINT MOTION TO STAY ALL DEADLINES
                        IN LIGHT OF SETTLEMENT


       Before the Court is Plaintiff Oyster Optics, LLC’s and Defendant Cisco Systems, Inc.’s

Joint Motion to Stay All Deadlines and Notice of Settlement. Having considered the Motion, the

Court finds that the Motion should and hereby is GRANTED.

       It is therefore ORDERED that all deadlines in the above-styled case are hereby

STAYED for thirty (30) days from the issuance of this Order, during which time dismissal

papers shall be tendered to the Court.
